      Case 3:16-md-02741-VC           Document 20418         Filed 03/31/25      Page 1 of 3




                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        PRETRIAL ORDER NO. 327: ORDER
                                                    GRANTING IN PART AND DENYING
   Moreland v Monsanto Co.,                         IN PART PLAINTIFF’S MOTION TO
   Case No. 3:20-cv-03069-VC                        EXCLUDE EXPERT WALTER
                                                    LONGO
                                                    Re: Dkt. No. 20085

       The plaintiff’s motion to exclude the testimony of Dr. Walter Longo is granted in part

and denied in part. This ruling assumes the reader’s familiarity with the facts, the applicable

legal standard, the prior Daubert rulings in this MDL, and the arguments made by the parties.

See generally In re Roundup Products Liability Litigation, 390 F. Supp. 3d 1102 (N.D. Cal.

2018) (Pretrial Order No. 45, Dkt. No. 1596); In re Roundup Products Liability Litigation, 358

F. Supp. 3d 956 (N.D. Cal. 2019) (Pretrial Order No. 85, Dkt. No. 2799); Hardeman v. Monsanto
Company, 997 F.3d 941 (9th Cir. 2021).

       1. Moreland first seeks to exclude testimony relating to his alleged diabetes as not being

based on sufficient facts. The central argument is whether a certain record indicating that

Moreland had diabetes is reliable. That question is better addressed with cross examination than

exclusion.

       2. Moreland also seeks to preclude Longo from testifying about Moreland’s medical,

family, and social history. Monsanto affirms in its opposition that Longo will not testify that
those factors are risk factors for NHL—whether the information is admissible for another
       Case 3:16-md-02741-VC           Document 20418       Filed 03/31/25     Page 2 of 3




purpose will be left for the trial court to decide.

        3. Longo’s opinions about Moreland’s NHL risk from living near Superfund sites and use

of Spectracide are excluded. Longo’s report discloses that Moreland may have been exposed to

pentachlorophenol by living near certain Superfund sites. See Longo Report (Dkt. No. 20085-2)

at 11–12. Further, Monsanto has presented some evidence that exposure to pentachlorophenol is

a risk factor for NHL. See IARC Monograph 117, Pentachlorophenol and Some Related

Compounds (Dkt. No. 20077-6) at 123. But when probed at deposition, Longo’s opinions fell

apart. He couldn’t name which chemicals Moreland was exposed to, couldn’t identify any

literature establishing the NHL risk from exposure to Superfund sites, and couldn’t point to any

areas of his report that did either of those things. See Longo Dep. (Dkt. No. 20085-3) at 199:3–

200:7. The same is true of his deposition testimony about Spectracide: he could not quantify

Moreland’s exposure or identify any literature establishing its NHL risk. See id. at 193:4–194:20.

And neither Longo nor Monsanto have provided any evidence that it has an association with

NHL.

        4. Longo may opine about urinary tract infections as a risk factor for NHL. The evidence

for the risk factor is weaker than some, which Moreland can explore on cross examination. But

it’s not unreasonable to apply more general research about chronic inflammatory conditions

(even a specific set of inflammatory conditions) to a urinary tract infection, which Moreland
impliedly admits is an inflammatory condition. See id. 213:1–9. Moreland cites a study that

seems to counter Longo’s position that UTIs are associated with NHL. See Reply (Dkt. No.

20296) at 3. However, Moreland apparently did not ask Longo about that study at deposition,

and the transcript excerpts Moreland presented in his motion are not sufficient to show Longo’s

position on UTIs is unreliable.

        5. Longo’s opinions about Moreland’s alleged cocaine use will not be excluded. As with

UTIs, the evidence for cocaine use as a risk factor is relatively weak. But Longo’s opinion

appears to be based on a legitimate study, and the record Moreland has developed doesn’t show
his opinion on this point is unreliable. See Longo Report at 17; see also Longo Dep. at 132:6–8,


                                                      2
      Case 3:16-md-02741-VC            Document 20418         Filed 03/31/25       Page 3 of 3




214:9–16. To be clear, this ruling only extends to the material’s exclusion under Daubert—it

may very well be that it is too prejudicial to be admissible, which will be for the trial court to

decide.

          IT IS SO ORDERED.

Dated: March 31, 2025
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge




                                                  3
